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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

JOHN MORALES,

           Plaintiff,

v.                                      Case No:    2:21-cv-343-JES-NPM

CUBESMART LP,

           Defendant.


                                        ORDER

      This matter comes before the Court on defendant's Notice of

Settlement      (Doc.   #11),     filed   on    June    24,     2021.      Defendant

indicates that the parties have reached a settlement in the case,

and   anticipate        filing     a    stipulation       for     dismissal     upon

finalization.

      Accordingly, it is hereby

      ORDERED AND ADJUDGED that the case is hereby DISMISSED,

without prejudice and subject to the right of the parties, within

THIRTY (30) DAYS of the date hereof, to submit a stipulated form

of final order or judgment, or request an extension of time should

they so choose, or for any party to move to reopen the action,

upon good cause being shown.            After that THIRTY (30) DAY period,

however, without further notice or order, this dismissal shall be

deemed with prejudice and judgment will be entered.                     The Clerk is

directed   to    terminate       any   previously      scheduled    deadlines    and
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pending   motions,   and   administratively    close   the   case   pending

further Order.

     DONE and ORDERED at Fort Myers, Florida, this             24th    day

of June, 2021.




Copies:
Counsel of Record




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